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             EXHIBIT 4
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                                                                              Page 1
        IN THE UNITED STATES DISTRICT COURT
            FOR THE DISTRICT OF COLUMBIA
------------------------x
AFL-CIO, et al.,                 :
              plaintiffs,        :
v.                               :   CASE NO.
DEPARTMENT OF LABOR,             :   1:25-cv-00339-JDB
et al.,                          :
              Defendant.         :
------------------------x




                30(b)(6) Deposition of
     DEPARTMENT OF HEALTH AND HUMAN SERVICES
                  through GAREY RICE
                Tuesday, April 8, 2025
                         1:46 p.m.




BEFORE: Cassandra E. Ellis, RMR, RDR, CRR,
RSA, CA-CSR 14448, WA-CCR, HI-CSR




Job No.: 10519


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 1                 The 30(b)(6) Deposition of
 2   DEPARTMENT OF HEALTH AND HUMAN SERVICES
 3   through GAREY RICE, taken before CASSANDRA
 4   E. ELLIS, Registered Professional Reporter,
 5   Registered Merit Reporter, Registered
 6   Diplomate Reporter, Certified Realtime
 7   Reporter, Realtime Systems Administrator;
 8   California Certified Shorthand Reporter;
 9   Washington State Certified Court Reporter;
10   Hawaii Certified Shorthand Reporter; Notary
11   Public, held in Washington, D.C., on
12   Tuesday, April 8, 2025, commencing at 1:46
13   p.m. and concluding at 2:53 p.m.
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                                                                              Page 3
 1               A P P E A R A N C E S
 2      ON BEHALF OF THE PLAINTIFFS:
             ZOILA E. HINSON, PRO HAC VICE
 3           ALEXA MILTON, PRO HAC VICE
             RELMAN COLFAX PLLC
 4           1225 19th Street, Northwest
             Suite 600
 5           Washington, D.C. 20036
             (202) 728-1888
 6           Zhinson@relmanlaw.com
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 7
 8      ON BEHALF OF THE PLAINTIFFS:
             AMAN T GEORGE, ESQUIRE
 9           MARK B. SAMBURG, ESQUIRE
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             Washington, D.C. 20043
11           (202) 448-9090
             Ageorge@democracyforward.org
12           Msamburg@democracyforward.org
13
14
        ON BEHALF OF THE DEFENDANT:
15           BRADLEY P. HUMPHREYS, ESQUIRE
             BENJAMIN S. KURLAND, ESQUIRE
16           ANDREW BERNIE, ESQUIRE
             US DEPARTMENT OF JUSTICE
17           1100 L Street, Northwest
             Washington, D.C. 20005
18           (202) 305-0878
             Bradley.humphreys@usdoj.gov
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 1                  INDEX TO EXAMINATION
 2   30(b)(6) Deposition of
 3   DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4   through GAREY RICE
 5   EXAMINATION                                         PAGE
 6        By Ms. Hinson                                  7
 7
 8                      INDEXED PAGES
 9                                                       PAGE
10   GAREY RICE, sworn                                   7
11   REPORTER CERTIFICATE                                48
12   INSTRUCTIONS TO WITNESS (none)
13   DECLARATION UNDER PENALTY OF PERJURY                47
14   ERRATA SHEET                                        49
15
16                  INFORMATION REQUESTED
17                              None
18
19         WITNESS INSTRUCTED NOT TO ANSWER
20                              None
21
22
23
24
25


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                                                                                Page 5
 1            INDEX TO PLAINTIFFS EXHIBITS
 2                       GAREY RICE
 3                Tuesday, April 8, 2025
 4   MARKED              DESCRIPTION                    PAGE
 5   Exhibit 1    Plaintiffs' Notice of Rule            12
 6        30(b)(6) Deposition of
 7        Department of Health and Human
 8        Services
 9   Exhibit 2    Declaration of Garey Rice             15
10        Filed 02/13/25
11   Exhibit 3    Declaration of Garey Rice             17
12        Filed 03/11/25
13   Exhibit 4    U.S. DOGE Service                     22
14        Assignment Agreement Bates
15        Stamped 25CV339_HHS00028-031
16   Exhibit 5U.S. DOGE Service Assignment              22
17        Agreement Bates Stamped
18        25CV339_HHS00032-035
19   Exhibit 6    Withdrawn                             34
20   Exhibit 7    Defendants' Objections                36
21        And Responses to Plaintiffs'
22        Requests For Expedited
23        Discovery, Including Supplemental
24        Responses
25


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                                                                                Page 6
 1                 P R O C E E D I N G S
 2                30(b)(6) Deposition of
 3     DEPARTMENT OF HEALTH AND HUMAN SERVICES
 4                  through GAREY RICE
 5     having been sworn, testified as follows:
 6                         EXAMINATION
 7   BY MS. HINSON:
 8            Q    Mr. Rice, can you state and
 9     spell your name, for the record, please?
10            A    My name is Garey Rice, spelled
11     G-a-r-e-y, last name R-i-c-e.
12            Q    And do you understand that
13     today you are testifying on behalf of the
14     Department of Labor about topics listed
15     in the deposition notice?
16            A    Department of Labor?
17            Q    Sorry, Department of Health and
18     Human Services.
19                 Apologies, it's been a long
20     day.
21            A    HHS.
22            Q    Yeah.     So I've got a couple of
23     ground rules to hopefully make things go
24     as smoothly as possible today.
25                 First, please continue to give


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                                                                               Page 7
 1   verbal answers instead of shaking or
 2   nodding your head, that just makes it
 3   easier for the court reporter to get a
 4   clear transcript; can you do that?
 5       A       Yes.
 6       Q       It's important we don't speak
 7   over each other.         So I will try to let
 8   you finish and if you can try and let me
 9   finish that would be great; can you do
10   that?
11       A       Yes.
12       Q       Are you represented by counsel
13   today?
14       A       My HHS counsel.
15       Q       And DOJ, as well?
16       A       Yes.
17       Q       Your counsel might object to a
18   question, that's fine, he's making an
19   objection for the record, but unless he
20   specifically instructs you not to answer
21   you should just go ahead and answer; can
22   we agree to that?
23       A       Yes.
24       Q       And if at any time you need a
25   break, just let me know.         I ask, though,


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                                                                             Page 10
 1       Q       And without revealing any
 2   communications you may have had with your
 3   attorneys, what do you know about this
 4   lawsuit?
 5       A       Basically what I read in the
 6   documents, the concern is basically
 7   understanding what the DOGE role at HHS
 8   was for the work that we're doing there
 9   for government efficiencies.
10       Q       I wanted to just, like,
11   identify a couple of terms that I'm going
12   to use today.
13               First, if I refer to DOGE I'm
14   talking about the US DOGE Service and the
15   USDS Temporary Organization,
16   collectively; does that work?
17       A       Yes.
18       Q       And when I'm talking about the
19   DOGE team affiliates, that's people hired
20   by or detailed to HHS since January 19th,
21   2025; does that work?
22       A       Yes.
23       Q       And I'm sorry, that's not even
24   complete.
25               Since January 19th, 2025 to


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                                                                               Page 11
 1     work as part of the DOGE team; is that
 2     clear?
 3         A        Yes.
 4         Q        Okay.    Great.
 5                  MS. HINSON:       Can we mark
 6         this as Exhibit 1.
 7                  (Exhibit No. 1 was marked
 8         for identification.)
 9   BY MS. HINSON:
10         Q        All right.    So you've just been
11     handed what's been marked as Exhibit 1,
12     which is the deposition notice for
13     today's deposition.
14                  And do you want to look at page
15     5 of that?     And are you prepared to
16     testify about topic two, except for
17     access to and use of HHS sensitive
18     systems?
19         A        Yes.
20         Q        Great.
21                  So we spoke a moment ago about
22     the DOGE team affiliates, and I'm just
23     going to read a list of names to make
24     sure we're talking about the same people,
25     those are Amy Gleason, Brad Smith, Luke


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                                                                              Page 12
 1   Farritor, Edward Coristine, Marko Elez,
 2   Kyle Schutt, Conor Fennessy, Zach
 3   Terrell, Rachel Riley, and Jeremy Lewin;
 4   are you familiar with those names?
 5        A       Yes.
 6        Q       And given the -- based on the
 7   definition I gave earlier, are those
 8   people all DOGE team affiliates?
 9        A       Yes.
10        Q       Since January 19, 2025, has
11   anyone else worked at DOL as an
12   employee -- or, gosh, sorry -- HHS as an
13   employee or detailee while simultaneously
14   being employed at DOGE?
15        A       So simultaneously employed?
16        Q       At DOGE?
17        A       -- at DOGE?     So what I'm saying
18   is that a lot of those employees are
19   detailed from other agencies to HHS.
20        Q       Mm-hmm?
21        A       So not necessarily employees of
22   DOGE.
23                So I know, like, Amy Gleason
24   and Brad Smith are dual appointees at
25   DOGE and HHS.


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                                                                               Page 18
 1         Q       Okay.   And is it the normal
 2     practice for HHS to have employees from
 3     other federal agencies detailed at HHS
 4     who are performing work for both agencies
 5     at the same time?
 6         A       Yes, it happens.
 7         Q       Okay.   What policies typically
 8     govern those relationships?
 9         A       So the policies that permit the
10     detail in between agencies, generally, so
11     it just depends, basically, on need and,
12     again, like, were there cost-cutting
13     activities.    It's just general
14     collaboration that we typically do
15     details for.
16         Q       In a normal course, how do
17     you -- how does HHS coordinate work with
18     the other agency that someone is being
19     detailed from or to?
20         A       Yeah.
21                 MR. HUMPHREYS:      Objection,
22         foundation.
23                 THE WITNESS:      So I could
24         answer?
25   ///


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                                                                               Page 19
 1   BY MS. HINSON:
 2         Q        You can answer.
 3                  MR. HUMPHREYS:     You can
 4         answer.     I'll tell you if you
 5         can't.
 6         A        Okay.   Okay.    So it's a
 7     collaboration, so depending upon what is
 8     needed, you know, generally there's an
 9     agreement that comes out, and there's
10     some description of what will or will not
11     be done, what the need is that we're
12     trying to solve by hiring generally what
13     is, you know, some kind of a specialist
14     that we have at HHS, or if it's something
15     that we do where we have these kind of
16     cost-cutting things where we're
17     collaborating for a joint goal for the
18     overall good of the government.
19                  I -- it just really depends on
20     what the need is at the time, how those
21     ground rules are laid, and it's generally
22     a collaborative process.
23         Q        Okay.   Why did HHS decide to
24     enter into these cross-detailing
25     arrangements with respect to the DOGE


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                                                                              Page 20
 1   team affiliates?
 2        A       I -- I think the -- the point
 3   was to kind of create the government
 4   efficiencies that we're looking for as
 5   part of the executive orders that have
 6   established DOGE.
 7                So there were some expertise
 8   that was recommended and HHS accepted
 9   those experts to help us perform these
10   tasks.
11        Q       And who made that
12   recommendation?
13        A       I think Brad Smith made most of
14   the recommendations, that I'm aware of.
15        Q       And did he recommend that he be
16   detailed to HHS?
17                MR. HUMPHREYS:      Objection as
18        to scope, but you can answer.
19        A       I -- I think so, yes.
20        Q       Who decided -- who at HHS made
21   the decision to enter into these
22   arrangements?
23        A       Scott Rowell is the deputy
24   chief of staff for operations.
25        Q       And why did he decide to enter


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                                                                                Page 21
 1     into these arrangements?
 2         A       As it was a collaboration to
 3     make sure that we met the goals and the
 4     requirements of the executive order, so
 5     we were kind of building our scope and --
 6     and team to get the accomplishments that
 7     we wanted to get to meet the requirements
 8     of the EO, executive order.
 9                 I said EO which is just a
10     jargon for executive order, sorry.
11                 MS. HINSON:     Okay.       Are we
12         on 4 and 5?
13                 (Exhibit No's. 4 and 5 were
14         marked for identification.)
15   BY MS. HINSON:
16         Q       Okay.   So you've been handed
17     two documents which have been labeled
18     Exhibits 4 and 5, one starts at HHS28,
19     and the other starts at HHS32, and
20     they're both labeled or titled:
21     Assignment Agreement Centers For Medicare
22     and Medicaid Services From the Executive
23     Offices of -- Executive Office of the
24     President US DOGE Service; right?
25                 First, who are these agreements


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                                                                              Page 22
 1   for?
 2                MR. HUMPHREYS:      I'm sorry, I
 3          may have missed what you said, but
 4          there's a difference in the title,
 5          one's HHS and one's CMS.
 6                MS. HINSON:     Thank you, that
 7          was actually going to be one of my
 8          questions.
 9          A     So the one for CMS, I believe,
10   is for Amy Gleason.
11          Q     Mm-hmm.
12          A     And the one for HHS probably
13   should be Brad.
14          Q     Do you know if, aside from the
15   differences, the one is the CMS and one
16   is to HHS, do you know if these
17   agreements are the same?
18          A     I'd have to read them to verify
19   that.
20          Q     Oh, yeah, you don't need to do
21   that, I just wasn't sure if you maybe
22   knew.
23          A     I mean, they -- it looks like a
24   standard agreement, so there may be
25   nuances within them that, you know, that


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                                                                                Page 30
 1     with it, would HHS consider that a
 2     conflict of interest?
 3                  MR. HUMPHREYS:      Objection,
 4         vague.
 5   BY MS. HINSON:
 6         Q        You can answer.
 7         A        Yes.
 8         Q        I want to switch gears a little
 9     bit to talk about training, and
10     specifically about -- let me -- two
11     systems, the health care integrated
12     general ledger accounting system and the
13     integrated data repository.
14                  What is the integrated data
15     repository?
16                  MR. HUMPHREYS:      Oh --
17                  MS. HINSON:     I'm trying to
18         ask about training for them.
19                  MR. HUMPHREYS:      Yeah, give
20         us a second.        Do you want to go
21         off the record for a second?
22                  MS. HINSON:     Yeah, fine.
23                  (Discussion held off the
24         record.)
25   ///


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                                                                               Page 31
 1   BY MS. HINSON:
 2         Q       What is the integrated data
 3     repository or IDR?
 4         A       So I'm familiar with the system
 5     name, but I don't really know what it
 6     does.
 7         Q       Okay.   Do you know what HIGLAS?
 8         A       That's the basic accounting
 9     system that CMS uses.
10         Q       Okay.   What training does a new
11     user for IDR receive, typically?
12         A       So they would -- would go
13     through the basic training for rules of
14     behavior, cyber security.        They would
15     have basic training for, you know, how to
16     use the system, and they would also, you
17     know, probably have special training for
18     those two systems for the information
19     that's in them, because they're HIGLAS,
20     in particular financial systems.
21                 We do a little higher level
22     training for some of that, because the
23     information that's in them is a little
24     more sensitive than just, like, network
25     access.


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                                                                              Page 32
 1        Q       What kind of training do you do
 2   for HIGLAS?
 3        A       Well, like I said, I mean,
 4   there would be systems training that
 5   would happen, you know, how to use the
 6   system, be familiar with the system, all
 7   that kind of stuff.
 8                There would be, like, a rules
 9   of behavior that just basically outlined
10   what you -- you know, when you get access
11   to the system what you can and cannot do
12   and how you should use it as a government
13   employee, that kind of stuff.
14                Cyber training is pretty
15   standard with all systems and stuff like
16   that.
17        Q       Is there typically
18   documentation for the training with IDR?
19        A       Yes.
20        Q       And is there typically
21   documented training for HIGLAS?
22        A       Yes.
23        Q       If someone received training
24   for IDR and HIGLAS is there some reason
25   there wouldn't be documentation of it?


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                                                                                Page 33
 1         A        No.
 2                  MS. HINSON:     So you can take
 3         a look at -- actually -- okay.             I
 4         think we're at Exhibit 6.
 5                  (Exhibit No. 6 was marked
 6         for identification.)
 7   BY MS. HINSON:
 8         Q        Okay.     So you've been handed
 9     exhibit -- I think it's Exhibit 6, and
10     it's the defendant's objection and
11     responses to the plaintiff's requests for
12     discovery including supplemental
13     responses.
14                  And can you take a look at
15     page 8, please.        So the responses,
16     here, says that, among other things,
17     Mr. Farritor received a security
18     briefing for HIGLAS and completed IDR
19     computer-based training; do you see
20     that, about the middle of the page?
21         A        Where are we at, down here?
22         Q        The second paragraph, before it
23     says -- I'm sorry, I think we're on the
24     wrong page.        It's page 8.
25         A        I've got page 8.


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                                                                                Page 34
 1        Q       Did I hand you the wrong one?
 2   Oh, you know what, I have the old one
 3   here.
 4                MS. MILTON:     You just took
 5        his.
 6                MS. HINSON:     I took your
 7        copy but, yeah, I think that's the
 8        wrong -- I'm realizing I think
 9        that's the wrong one.          My
10        apologies.
11                Oh, these are not the
12        supplementals, these are the
13        originals.
14                MS. MILTON:     Oh.
15                MS. HINSON:     Okay.
16                MS. MILTON:     He had them.
17        He had a copy that he reviewed it.
18                MS. HINSON:     Yes.
19        Apologies.
20                Can we make this an exhibit,
21        are you guys okay with that?
22                MR. HUMPHREYS:        Yeah.
23                MS. HINSON:     Yeah?       And can
24        you make it, actually, Exhibit 7,
25        again, in that case?          You can just


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                                                                               Page 35
 1         totally set that one aside.
 2         Sorry, guys.
 3                 MR. HUMPHREYS:      No problem.
 4                 MR. BERNIE:     No problem.
 5                 (Exhibit No. 7 was marked
 6         for identification.)
 7   BY MS. HINSON:
 8         Q       All right.     So we're talking
 9     about Exhibit 7, which is actually the
10     supplemental responses.
11         A       Page 8?
12         Q       Yes, go to page 8, please.
13         A       What was the --
14         Q       Sure.
15                 Do you see where it says that
16     Mr. Farritor completed a security
17     briefing for HIGLAS and completed IDR
18     computer-based training?
19         A       Which paragraph?
20         Q       Sure.     It's, I think, right in
21     there.
22         A       I'm just reading, it says:
23     Mr. Farritor acknowledged rules of
24     behavior for general users, the rules of
25     behavior for privileged users, security


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                                                                              Page 36
 1   briefing for HIGLAS, and completed IDR
 2   computer-based training, that's what
 3   you're talking about?
 4        Q       Yes.
 5        A       Okay.   Yes.
 6        Q       Then, if you look at page 12,
 7   they're talking about Mr. Moghaddassi in
 8   here, and it says that he was granted
 9   permission to access IDR and HIGLAS, and
10   that he did access IDR and HIGLAS, but if
11   you look at the training he completed, it
12   doesn't include that security training
13   for HIGLAS or the IDR computer-based
14   training.
15        A       Users, yeah, security, yes, I
16   see that.
17        Q       Okay.   So does that mean that
18   Mr. Moghaddassi did not complete a
19   security briefing for HIGLAS or IDR
20   computer-based training?
21        A       Yes, that's what it says.
22        Q       Okay.   Does a user typically
23   have to complete those trainings before
24   accessing HIGLAS and IDR?
25        A       I can't say definitively on


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 1   that, because I'm not a user of those
 2   systems, but that's CMS so I know those
 3   are, like, the general trainings are the
 4   rules of behavior, the -- the privilege
 5   rules of cyber security, that kind of
 6   stuff.    I don't know why there were --
 7   the other trainings weren't done by him.
 8        Q       I guess I think I'm asking a
 9   slightly different question, which is
10   just, in the normal course is a user
11   permitted to access IDR without going
12   through the IDR computer-based training?
13                MR. HUMPHREYS:      Objection as
14        to scope.     You can answer if you
15        know.
16        A       I don't know.
17        Q       And in the normal course is a
18   user of -- or would a user of HIGLAS
19   permitted to access HIGLAS without doing
20   the security briefing?
21                MR. HUMPHREYS:      Same
22        objection.
23        A       I don't know.
24                MS. HINSON:     Okay.       Can we
25        take a break?


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 1   or Ms. Gleason?
 2                MR. HUMPHREYS:      Objection as
 3        to scope, but can you answer.
 4        A       No.
 5        Q       And did HHS do anything to
 6   assess conflicts of interest for
 7   Mr. Smith?
 8                MR. HUMPHREYS:      Same
 9        objection.
10        A       No.   I'd just like to amplify
11   that I mean per my knowledge, no conflict
12   came up, so there was nothing to, you
13   know, deal with, so --
14        Q       How would -- how do conflicts
15   typically come up?
16        A       I mean, I -- I would say that
17   if there was a conflict somebody would
18   have a disagreement and we would sit down
19   and talk about it, a conflict of interest
20   based on, you know, what they were doing
21   with the work, you know?
22                So if they ask us to do
23   something that wasn't part of the DOGE
24   agreement or something that would be a
25   conflict.


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 1        Q       So your understanding of
 2   conflict of interest is that it would be
 3   a disagreement about the work within the
 4   scope of the DOGE executive order?
 5                MR. HUMPHREYS:      Objection as
 6        to scope.
 7        A       Yeah, that's the way I took the
 8   context of the question.
 9        Q       Did HHS do anything to assess
10   whether there -- whether Ms. Gleason or
11   Mr. Smith had a financial interest that
12   could be in conflict with the agency?
13                MR. HUMPHREYS:      Same
14        objection.
15        A       When they're employed as part
16   of the employment agreement they have to
17   provide ethics clearances, and that's --
18   so ethics document on-board, so long as
19   that's on-boarding of any employee.
20        Q       And is that self-reporting?
21                MR. HUMPHREYS:      Same
22        objection.
23        A       Yes.
24        Q       With -- regarding Mr. Smith, I
25   believe you testified earlier that he had


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 1   recommended that he be detailed to HHS;
 2   is that correct?
 3        A       Yes.
 4        Q       Okay.   In what capacity did he
 5   make that recommendation?
 6                MR. HUMPHREYS:      Objection as
 7        to scope.
 8                You can answer if you know.
 9        A       Just working with HHS full time
10   that it made sense that he be detailed.
11        Q       And I think I'm asking
12   something a little bit different.
13                When Mr. Smith made that
14   recommendation to HHS, what role was he
15   acting in?
16                MR. HUMPHREYS:      Objection to
17        scope, but go ahead.
18        A       He was acting as the HHS DOGE
19   lead for HHS, lead to HHS.
20        Q       Lead to HHS from DOGE?
21        A       Yes.
22        Q       All right.     Has Mr. Smith
23   continued to make recommendations in his
24   capacity as a DOGE employee and since he
25   has been detailed to HHS?


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 1          A     The recommendations that he
 2   makes I interpret as his role as an HHS
 3   detail.    He's making recommendations to
 4   HHS based on the work that we do, you
 5   know, his role with USDS, because he's in
 6   this dual appointment thing, that's -- I
 7   don't have any visibility into what he
 8   does with USDS.
 9          Q     How can you tell whether he's
10   making a recommendation in his USDS
11   capacity versus his HHS capacity?
12          A     So I -- I don't know what his
13   functions are at USDS.         All I can tell
14   you is he's making recommendations about
15   the contracts activities, grants, things
16   that we do at HHS to create efficiencies
17   that we have within HHS.
18          Q     So is it that you understand
19   him to be acting in his capacity of HHS
20   because he's making recommendations about
21   HHS?
22          A     Yes, he's -- yes.
23          Q     Okay.   Is there any other
24   reason you understand him to be working
25   in his capacity as an HHS employee when


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 1   he's making recommendations to HHS?
 2          A     Say that -- say that again?
 3   I'm sorry, that was a bit of a tongue
 4   twister.
 5          Q     Yeah, fair enough.
 6                I'm trying to ask if that's the
 7   only reason you understand him to be
 8   acting in his HHS capacity versus his
 9   DOGE capacity?
10                MR. HUMPHREYS:      Objection as
11          to form.
12          A     That's the only reason I have
13   to believe that, yes.
14          Q     Okay.   Was Mr. Smith the HHS
15   DOGE team lead before he was detailed to
16   HHS?
17          A     Yes.
18          Q     Is he the HHS DOGE team lead
19   now?
20          A     Yes.
21          Q     Has his -- has his
22   responsibilities functionally changed
23   since he was detailed to HHS?
24          A     No.
25                MS. HINSON:     All right.      I


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 1        think that's it.
 2                MR. HUMPHREYS:         Great.
 3                Give us two minutes to talk
 4        to him.
 5                MS. HINSON:      Sure.
 6                MR. HUMPHREYS:         Maybe five.
 7                (Recess.)
 8                MR. HUMPHREYS:         Back on the
 9        record.
10        A       I just wanted to clarify that
11   Brad Smith was detailed to HHS at the
12   start of the administration, so when he
13   came to work for Mr. Rowell, on the 21st
14   he introduced me to Brad that he was
15   going to be, you know, our DOGE team lead
16   here at HHS, and that's when I started
17   working with him, so not that he was a
18   DOGE employee at HHS but he was our HHS
19   DOGE lead.
20        Q       So had he -- when you say the
21   21st, is that the 21st of what month?
22        A       January.      Sorry.
23        Q       And had he already been
24   detailed to HHS on the 21st of January?
25        A       Yes.   Yes.


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